

Weeks v Anderson (2019 NY Slip Op 04603)





Weeks v Anderson


2019 NY Slip Op 04603


Decided on June 7, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 7, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, DEJOSEPH, NEMOYER, AND CURRAN, JJ.


686 CA 18-02005

[*1]ATIYA B. WEEKS, PLAINTIFF-RESPONDENT-APPELLANT,
vSHARON L. ANDERSON, DEFENDANT-APPELLANT-RESPONDENT. (APPEAL NO. 1.) 






LAW OFFICE OF VICTOR M. WRIGHT, ORCHARD PARK (VICTOR M. WRIGHT OF COUNSEL), FOR DEFENDANT-APPELLANT-RESPONDENT.
ROSENTHAL, KOOSHOIAN &amp; LENNON, LLP, BUFFALO (J. PATRICK LENNON OF COUNSEL), FOR PLAINTIFF-RESPONDENT-APPELLANT. 


	Appeal and cross appeal from an order of the Supreme Court, Erie County (Timothy J. Walker, A.J.), entered May 30, 2018. The order, among other things, granted defendant's motion for leave to reargue her opposition to plaintiff's motion for summary judgment on the issue of negligence and, upon reargument, vacated the prior order granting plaintiff's motion. 
Now, upon the stipulation of discontinuance signed by the attorneys for the parties on May 13, 2019, and filed in the Erie County Clerk's Office on May 23, 2019,
It is hereby ORDERED that said appeal and cross appeal are unanimously dismissed without costs upon stipulation.
Entered: June 7, 2019
Mark W. Bennett
Clerk of the Court








